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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

                                                  )
 UNITED STATES OF AMERICA,                        )
                                                  )
                                                  )
                           v.                     ) Case No. 1:21-cr-175
                                                  )
 ETHAN NORDEAN, et al.,                           ) Judge Timothy J. Kelly
                                                  )
         Defendants.                              )
                                                  )

DEFENDANT NORDEAN’S NOTICE OF ADDITIONAL MATERIAL EVIDENCE THE
     GOVERNMENT WITHHELD UNTIL AFTER DETENTION HEARINGS

       Defendant Nordean, through his counsel, provides this notice of additional evidence the

government withheld from the defense and the Court until after the Court revoked his release

order. LCrR 5.1(a).

       As the Court knows, in the April 19 detention hearing the Court focused on the perceived

risk that Nordean would engage in dangerous political rallying in the future. The Court found:

       [T]hese defendants can produce events that draw large numbers of people, including
       Proud Boys, others sympathetic to Proud Boy perspectives . . . Even if the election has
       passed all of politics has not.

Hr’g Trans., 4/19/21, p. 55.

       Although Nordean had presented a February audio recording of himself in a conversation

with members of his group in which he rejected future political rallying, the Court found that

“without any further context there’s no indication that that was some kind of permanent

decision.” Id. at 55:22.

       Attached to this notice is an FBI memorandum that reviews Nordean’s audio messages

on the Telegram app. FD-302, 4/14/21, Exh. 1 (highlighting added by Nordean). Although it

was produced to the defense over a month after the detention hearing, the memo predates the

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April 19 detention hearing by a week. The memo shows that at the moment the Court found a

determinative lack of “further context” regarding Nordean’s future plans concerning rallying,

Hr’g Trans., 4/19/21, p. 55:22, the government possessed further context in the form of multiple

additional statements from Nordean forswearing rallying. Exh. 1. The transcript of the detention

hearing shows that the government remained silent after the Court made its finding about the

lack of further context. Hr’g Trans., 4/19/21, p. 55.

Dated: June 15, 2021                          Respectfully submitted,

                                              /s/ David B. Smith
                                              David B. Smith (D.C. Bar No. 403068)
                                              108 N. Alfred St.
                                              Alexandria, VA 22314
                                              Phone:(703)548-8911
                                              Fax:(703)548-8935
                                              dbs@davidbsmithpllc.com

                                              Nicholas D. Smith (D.C. Bar No. 1029802)
                                              7 East 20th Street
                                              New York, NY 10003
                                              Phone: (917) 902-3869
                                              nds@davidbsmithpllc.com




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                                     Certificate of Service

       I hereby certify that on the 15th day of June, 2021, I filed the foregoing notice with the

Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF) to

the following CM/ECF user(s):

              Jim Nelson
              Assistant United States Attorney
              555 4th Street, N.W., Room 4408
              Washington, D.C. 20530
              (202) 252-6986

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


                                                    /s/ David B. Smith
                                                    David B. Smith, D.C. Bar No. 403068
                                                    David B. Smith, PLLC
                                                    108 North Alfred Street, 1st FL
                                                    Alexandria, Virginia 22314
                                                    (703) 548-8911 / Fax (703) 548-8935
                                                    dbs@davidbsmithpllc.com
                                                    Counsel to Ethan Nordean




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